 ~AO 245B     (Rev. 12/03) Judgment in a Criminal Case
   NCED       Sheet I



                                         UNITED STATES DISTRICT COURT
                         Eastern                                      District of                             North Carolina
          UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                              v.
                 JAMES CORBETT                                                 Case Number: 7:15-CR-3-1H

                                                                               USM Number: 59131-056

                                                                               Suzanne Little
                                                                               Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                                 Nature of Offense                                                  Offense Ended
21 U.S.C. § 841(a)(1) and 21 U.S.C. § 841(b)     Possession With Intent to Distribute and Distribution of a          11/2012
(1 )(E)                                          Quantity of Anabolic Steroids




                                                                                                                             I
       The defendant is sentenced as provided in pages 2 through               __6 _ _ of this judgment. The sentence is impored pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
D Count(s)                                                            D   are dismissed on the motion of the United States.
               ------------------------- Dis
         It is ordered that the defendant must notifY the United States attorney for this district within 30 days of any change f name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordere to pay restitution,
the defenoant must notifY the court and United States attorney of material changes in economic circumstances.

 Sentencing Location:                                                         8/11/2015
  Greenville, NC




                                                                                The Honorable Malcolm J. Howard, Senior USIDistrict Judge
                                                                              Name and Title of Judge

                                                                                                                                  I
                                                                              8/11/2015
                                                                               Date




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AO 245B       (Rev. 12/03) Judgment in Criminal Case
   NCED       Sheet 2 - Imprisonment

                                                                                                       Judgment- Page     2           of   6
DEFENDANT: JAMES CORBETT
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                                                             IMPRISONMENT

        The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a
total term of:

18 months                                                                      ,
THE COURT ORDERS that the defendant provide support for all dependents while in~arcerated.
                                                                                                                                  I

  0       The court makes the following recommendations to the Bureau of Prisons:




  0       The defendant is remanded to the custody of the United States Marshal.

  0       The defendant shall surrender to the United States Marshal for this district:

          0     at                                D a.m.        D p.m.       on

          D
                     ------------------
                as notified by the United States Marshal.

  f1      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          DO    before      p.m. on

          DO    as notified by the United States Marshal.

          D     as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                             to

a,____________________________ , with a certified copy ofthisjudgment.



                                                                                                   UNITED STATES MARSHAU



                                                                            By---------------------------+~------------
                                                                                        DEPUTY UNITED STATES MAR,HAL



                                                                                                                              I
                                                                                                                              I
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AO 245B     (Rev. 12/03) Judgment in a Criminal Case
   NCED     Sheet 3 - Supervised Release
                                                                                                         Judgment-Page                       6
DEFENDANT: JAMES CORBETT
CASE NUMBER: 7:15-CR-3-1H
                                                       SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
  1 year                                                                                                                   i
     The defendant must report to the probation office in the district to which the defendant is released within 72 hours qfrelease from the
custody of the Bureau of Pnsons.                                                                                               1
                                                                                                                               I
The defendant shall not commit another federal, state or local crime.                                                          I
                                                                                                                               l
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two peri~dic drug tests
thereafter, as detennined by the court.                                                                                        1



       The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low ris~ of future
0      substance abuse.                                                                                                    ·
¢      The defendant shall not possess a fireann, destructive device, or any other dangerous weapon. (Check, if applicable!)

Vf     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.) I
                                                                                                                               I




0      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, torks, or is a
       student, as directed by the probation officer. (Check, if applicable.)                                                  I
0    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)                    I
     If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accorda~ce with the
Schedule of Payments slieet of this judgment.                                                                                 I
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
 I.    The defendant shall not leave the judicial district or other specified geographic area without the permission of the corrt or probation
       officer.                                                                                                                1



2.     The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a trurhful and
       complete written report within the first five (5) days of each month.                                                   1

                                                                                                                               i
3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probati1n officer.
4.     The defendant shall support the defendant's dependents and meet other family responsibilities.                          I
                                                                                                                               I
5.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, traihing, or other
       acceptable reasons.                                                                                                  I
6.     The defendant shall notify the probation officer at least then ( 10) days prior to any change of residence or employm~nt.
7.     The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use distribute, or   administ~r any controlled
       substance, or any paraphernalia related to any controlled substance, except as prescribed by a physician.               i
8.     The defendant shall not frequent places where controlled substances are illegally sold, used distributed, or administeted, or other


                                                                                                                            :l
       places specified by the court.                                                                                          1
                                                                                                                               I

9.     The defendant shall not associate with any r.ersons engaged in criminal activity, and shall not associate with any perfon convicted of
       a felony unless granted permission to do so by the probation officer.
I 0.   The defendant shall pennit a probation officer to visit the defendant at any time at home or elsewhere and shall pe     it confiscation of
       any contraband observed in plain view by the probation officer.
II.    The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a I w enforcement
       officer.
12. The qef!!ndant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agenc~ without the
    permtsston of the court.                                                                                             I
13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the dMendant's
       criminal record or personal history or characteristics, and shafl permtt the probation officer to make such notifications and to con finn
       the defendant's compliance with such notification requirement.                                                          i
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                                                                                                                               '
                                                                                                                               I




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AO 2458   (Rev. 12/03) Judgment in a Criminal Case
  NCED    Sheet 3C - Supervised Release


DEFENDANT: JAMES CORBETT
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                                        SPECIAL CONDITIONS OF SUPERVISION
                                                                                                                I
 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 office.

 The defendant shall provide the probation office with access to any requested financial information.

 The defendant shall participate as directed in a program approved by the probation office for the
 treatment of narcotic addiction, drug dependency, or alcohol dependency which will include urinalysis
 testing or other drug detection measures and may require residence or participation in a residential
 treatment facility.

 While under supervision in the Eastern District of North Carolina, the defendant shall participate in the
 DROPS Program and, in response to detected illegal drug use, shall be confined in the custody of the
 Bureau of Prisons for a period not to exceed 30 days of intermittent confinement, as arranged by the
 probation office, in the following increments: First Use- Two Days; Second Use - Five Days; Third Use
 -Ten Days.

 The defendant shall consent to a warrantless search by a United States Probation Officer or, at the
 request of the probation officer, any other law enforcement officer, of the defendant's person and
 premises, including any vehicle, to determine compliance with the conditions of this judgment.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.




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AO 2458    (Rev. 12/03) Judgment in a Criminal Case
  NCED     Sheet 5 - Criminal Monetary Penalties
                                                                                                               Judgment -   Page   _....;:5:........._ : of       6
DEFENDANT: JAMES CORBETT
CASE NUMBER: 7:15-CR-3-1H
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                                                                        Restitution
TOTALS             $ 100.00                                                 $                                      $

                                                                                                                                                     i
D    The determination of restitution is deferred until                  . An Amended Judgment in a Criminal Case (AO 245C~ will be entered
     after such determination.                                                                                                                       1
                                                                                                                                                     I



D    The defendant must make restitution (including community restitution) to the following payees in the amount listed                             ~elow.
                                                                                                                                                      !
     Ifthe defendant makes a partial payment, each payee shall receive an approximate!)' proportioned payment, unless sp¢cified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664ti), all nonfederal vjctims must be paid
     before the United States is pa1d.                                                                                  I
Name of Payee                                                                   Total Loss*          Restitution Ordered           Priority tr Percentaee


                                                                                                                                                         !
                                                                                                                                                         I




                                  TOTALS                                                     $0.00                      $0.00


DO   Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -
                                                                                                                                                             i
DO   The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid inrll before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S. C. § 3612(f). All of the payment options on Sheet 6 ay be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:                                               I
                                                                                                                                                             I
     D    the interest requirement is waived for the             D   fine       D   restitution.

     D    the interest requirement for the            D   fine       D   restitution is modified as follows:



* Findings for the total amount oflosses are required under Chapters I 09A, II 0, II OA, and 113A ofTitle 18 for offenses comrjlitted on or after
September 13, 1994, but before April23, 1996.                                                                                 I
                                                                                                                                                             '!




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AD 245B     (Rev. 12/03) Judgment in a Criminal Case
    NCED    Sheet 6- Schedule of Payments
                                                                                                         Judgment- Page   ----ct-   of        6
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                                                           SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A      0    Lump sum payment of$                                 due immediately, balance due

            D     not later than                                     , or                                                      .
            D     in accordance           D    C,      D    D,   D     E, or    D F below; or                                  I

8           Payment to begin immediately (may be combined with                 DC,     D D, or    lit'F below); or             I

c      D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                       ovx, a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) atler the date of this judrment; or

D      D    Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                     ovelr a period of
                         (e.g., months or years), to commence                 (e.g., 30 or 60 days) alter release from impri$onment to a
            term of supervision; or                                                                                          I
                                                                                                                               I
E      D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) aft9r release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at1that time; or
                                                                                                                               !
F           Special instructions regarding the payment of criminal monetary penalties:

             Payment of the special assessment shall be due immediately.



                                                                                                                               I
Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary pelalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Prison~f Inmate Financial
Responsibility Program, are made to the clerk of the court.                                                             I

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.            1




                                                                                                                               I
D      Joint and Several
                                                                                                                               I
                                                                                                                               i
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and S~veral Amount,
       and corresponding payee, if appropriate.




D      The defendant shall pay the cost of prosecution.

D      The defendant shall pay the following court cost(s):

D      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) finelprincipal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.     1




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